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                          No. 23-3166
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       IN THE UNITED STATES COURT OF APPEALS
               FOR THE THIRD CIRCUIT
                 ________________________

     PENNSYLVANIA CONFERENCE OF THE NAACP, et al.,
                        v.
   SECRETARY COMMONWEALTH OF PENNSYLVANIA, et al.
      REPUBLICAN NATIONAL COMMITTEE; NATIONAL
      REPUBLICAN CONGRESSIONAL COMMITTEE; THE
         REPUBLICAN PARTY OF PENNSYLVANIA,
                                                             Appellants.
                     ________________________

 On Appeal From The United States District Court For The
            Western District Of Pennsylvania
                ________________________

   REPLY IN SUPPORT OF APPELLANTS’ EMERGENCY
       MOTION FOR A STAY PENDING APPEAL
               ________________________

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                           INTRODUCTION

     The District Court’s order creates disparate election rules across

Pennsylvania, retroactively changed the rules for Richard Marino’s

election, imposes severe irreparable harms, and is wrong. A stay is

warranted. 1

                              ARGUMENT

I. THE PUBLIC INTEREST DEMANDS A STAY.

     The public interest alone warrants a stay. See Appellants’ and

Proposed Intervenor’s Motion For A Stay 9-11 (“Mot.”). Plaintiffs’ various

arguments fail to show otherwise.

     First, Plaintiffs argue Appellants cannot make Purcell-related

equitable arguments because they do not administer elections. E.g.,

NAACP Op. 24. But the Supreme Court has granted at least one stay to

private parties making Purcell arguments over the objection of a state

government. Frank v. Walker, 574 U.S. 929 (2014); see RNC v. DNC, 140

S. Ct. 1205, 1207 (2020) (recognizing this). It has also granted a Purcell

stay when a political party and a state legislature jointly sought a stay,



     1 Plaintiffs, the Secretary, Philadelphia County, and Montgomery

County filed aligned briefs. This brief refers to them collectively as
“Plaintiffs.”
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id., even though neither entity administered elections. Nor does RNC v.

Common Cause R.I., 141 S. Ct. 206 (2020), help Plaintiffs. There, the

Supreme Court emphasized that the contested rule was not “used in

Rhode Island’s last election,” leading “many . . . voters” to believe the

“status quo [was] one in which the challenged requirement [was not] in

effect.” Id. Here, by contrast, all agree the date requirement governed

Pennsylvania’s 2022 elections and was in effect on Election Day 2023.

And, in fact, Montgomery County provides another reason for a stay:

there are imminent local elections. Montgomery Opp. 6, 9; e.g., RNC, 140

S. Ct. at 1207.

     Second, Plaintiffs question whether the District Court’s declaration

establishes disparate rules for Pennsylvania’s elections. NAACP Opp.

26; Sec’y Opp. 13. Plaintiffs do not dispute that 55 counties are not

subject to that declaration. Plaintiff instead half-heartedly suggest those

55 counties “should comply with federal law as set forth in the [D]istrict

[C]ourt’s order.” NAACP Opp. 26 (emphasis added). But Plaintiffs do

not dispute that those 55 counties remain subject to the Pennsylvania

Supreme Court’s conflicting order not to count undated ballots. Ball v.

Chapman, 284 A.3d 1189, 1192 (Pa. 2022).            The NAACP Plaintiffs


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shockingly ignore Ball, but the District Court’s opinion on federal law

does not trump the Pennsylvania Supreme Court’s order. E.g., Johnson

v. Williams, 568 U.S. 289, 305 (2013); Hall v. Pa. Bd. of Prob. & Parole,

851 A.2d 859, 865 (Pa. 2004).      Because conflicting court orders now

compel Pennsylvania’s counties to apply an election rule differently, a

stay is needed to avoid an Equal Protection problem and potential mass

confusion. See Bush v. Gore, 531 U.S. 98, 105-07 (2000).

      Third, Plaintiffs deem the risk of electoral chaos in 2024

“speculative.” NAACP Opp. 26. However, Plaintiffs cannot dispute that

three elections in the last four years have been determined by undated

ballots, and that Pennsylvania’s statewide races are typically close.

Unsurprisingly, external observers have recognized the potential for the

District Court’s order to cause chaos in 2024. E.g., The Editorial Board,

A Mail-Vote Time Bomb Keeps Ticking, WSJ (Nov. 26, 2023).

II.   A STAY IS NECESSARY                  TO    PREVENT        MULTIPLE
      IRREPARABLE HARMS.

      The District Court’s order threatens imminent irreparable harm on

Richard Marino, Appellants and their voters, and Pennsylvania and its

citizens.   See Mot. 11-13.    Plaintiffs’ arguments to the contrary are

unpersuasive.

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     First, effectively conceding Marino was injured by the District

Court’s post-election rule change, Plaintiffs argue a stay would not

redress his harm because a state court dismissed a contest to the

election’s certification. NAACP Opp. 20-21; Sec’y Opp. 2; Philadelphia

Opp. 1. That is wrong. The Montgomery County Board relied on one

reason to certify the election against Marino: the District Court’s order.

Mot. 7. That decision was challenged in state court, and the state trial

court gave one reason for ruling against Marino: the District Court’s

order. See Ex. A. That decision is being appealed. See Montgomery Opp.

8 n.4. It also demonstrates that the District Court’s declaration is the

fatal obstacle to Marino obtaining a favorable state-court ruling.2 If this

Court enters a stay, that obstacle will disappear, allowing Marino to

obtain a state-court order certifying him as the winner—either through

appeal or reconsideration. That Marino must take one extra step to

regain office if this Court enters a stay does not mean his irreparable

harm is not redressable. Indeed, this is how candidates must obtain relief

anytime a federal court order flips an election result. But here, where


     2 Plaintiffssuggest Marino cannot obtain a state-court remedy
because the contest was untimely. That is false. See Intervention Reply
7-9.
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the state court relied solely on the District Court’s order, Marino’s path

to relief is unusually straightforward.

     Second, Plaintiffs suggest Marino is not irreparably harmed

because he did not move to intervene until nine days after the District

Court’s order. E.g., NAACP Op. 21. But Marino sought relief one day

after he was harmed. And even if Plaintiffs are correct that Marino had

to anticipate that he would lose his election because of the District

Court’s order, they point to no authority suggesting a mere nine-day

delay is unreasonable. See Intervention Reply 2-4.

     Third, Plaintiffs wrongly downplay Appellants’ irreparable harms.

Appellants must divert resources if the District Court’s order is not

stayed, Mot. 12, a well-established irreparable harm, e.g., Fair Hous. Rts.

Ctr. v. Post Goldtex GP, 823 F.3d 209, 214 n.5 (3d Cir. 2016). Even the

District Court understood that invalidating the date requirement would

harm Appellants’ “ability to participate in the election process within the

state.” ECF No. 167 at 9; accord La Union del Pueblo Entero v. Abbott,

29 F.4th 299, 306 (5th Cir. 2022). Appellants and their candidates in

statewide races are also harmed by the date requirement being

disparately applied in various counties.        Supra 2-3.       So are all


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Pennsylvanians. Mot. 12-13. Meanwhile, Plaintiffs never explain why

they should benefit from a post-election rule change where they never

sought preliminary relief. See id. at 13.

III. APPELLANTS WILL LIKELY SUCCEED ON THE MERITS.

     The Materiality Provision applies only to voter-qualification

decisions made during voter registration. Mot. 13-27; Ritter v. Migliori,

142 S. Ct. 1824, 1825 (2022) (Alito, J., dissental); Vote.Org v. Callanen,

39 F.4th 297, 305 n.6 (5th Cir. 2022); Ball v. Chapman, 289 A.3d 1, 38

n.11 (Pa. 2023). (Opinion of Brobson, J.). Plaintiffs’ attempts to expand

the statute are foreclosed by text, history, precedent, the federalism

canon, and constitutional avoidance.

     A.    The Materiality Provision Applies Only During Voter
           Registration.

      The Materiality Provision applies only to an “application,

registration, or other act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B).

Plaintiffs do not contest that the terms “application” and “registration”

refer only to voter registration. Instead, they focus on the phrase “or

other act requisite to voting.” NAACP Opp. 12-13; Sec’y Opp. 18-19;

Philadelphia Opp. 21. Plaintiffs insist that phrase is not limited by the




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ejusdem generis canon because it begins with the word “any.” NAACP

Op. 15; Sec’y Opp. 19 (citing Ali v. BOP, 552 U.S. 214, 225 (2008)).

     This purported exception to ejusdem generis does not exist. Courts

regularly apply the canon to phrases containing the term “any.” E.g.,

Circuit City Stores v. Adams, 532 U.S. 105, 109 (2001); Arcadia v. Ohio

Power Co., 498 U.S. 73, 77-78 (1990); McBoyle v. United States, 283 U.S.

25, 26 (1931) (Holmes, J.); A. Scalia & B. Garner, Reading Law: The

Interpretation of Legal Texts 200-02 (2012) (approvingly citing several

cases applying canon to phrases including “any”).         Ali is not to the

contrary. The Supreme Court there found ejusdem generis inapplicable

because the phrase at issue did not consist of “a list of specific items

separated by commas and followed by a general or collective term,” not

because it included “any.” 552 U.S. at 225; see Scalia & Garner, supra, at

206-07 (explaining Ali).

     Nor does ejusdem generis make the catchall superfluous, as

Plaintiffs insist. NAACP Opp. 14-15; Philadelphia Opp. 21. This phrase

prevents election officials from circumventing the Materiality Provision

based on labeling: Referring to a qualification-determining practice as

something other than a voter “application” or “registration” does not


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liberate officials to disqualify voters for immaterial paperwork “error[s]

or omission[s].” § 10101(a)(2)(B). Moreover, the phrase may cover any

forms citizens must submit to remain registered to vote besides initial

applications and registrations, such as a declaration by a released felon

that he has paid all outstanding fines or by an inactive voter that she

continues to reside at her registered address.

     In contrast, Plaintiffs’ reading would make “application” and

“registration” utterly superfluous, since they would be subsumed by the

catchall. E.g., NAACP Opp. 13 (ignoring these words). The Court should

not read these essential words out of the statute.         E.g., Freeman v.

Quicken Loans, Inc., 566 U.S. 624, 635 (2012). 3




     3 The   Secretary suggests that the Materiality Provision is not
limited to voter registration because it uses the phrase “such election.”
Sec’y Opp. 22. But states commonly establish special registration
processes and requirements for specific local elections. E.g., Sayler Land
Co. v. Tulare Lake Basin Water Dist., 410 U.S. 719, 725 (1973) (local
water-district election where only landowners could vote).             The
Materiality Provision applies to single-election qualification processes.
      The Secretary also suggests a mail ballot carrier envelope “is akin”
to voter registration because a voter must reaffirm he is eligible to vote.
Sec’y Opp. 19-20. But as the District Court explained, the date
requirement applies only to voters who “ha[ve] previously been
determined to be eligible and qualified to vote.” ECF No. 347 at 67. The
carrier envelope is thus not used to qualify voters.
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     B.    The Materiality Provision Applies Only to Voter Qualification
           Determinations.

     The Materiality Provision only covers records used “in determining”

the voter’s qualifications. 52 U.S.C. § 10101(a)(2)(B). Plaintiffs claim

instead that it prohibits any paper-based error “‘not material’ to”

determining a voter’s qualifications. NAACP Opp. 13 (emphasis added);

Sec’y Opp. 21. This formulation, however, swaps out the key statutory

term “in” for the very different word “to.” Ball, 289 A.3d at 38 (opinion

of Brobson, J.)   (“[I]t is not enough that the error or omission be

immaterial to whether the individual is qualified to vote; the paper or

record must also be used ‘in determining’ the voter’s qualifications.”).

Plaintiffs make no attempt to grapple with the meaning of “in,” which in

this context means “when.” Mot. 18.

     Plaintiffs also fail to engage with statutory structure and the fact

the Materiality Provision’s neighboring provisions refer only to

“qualification” decisions. Their only response is that reading section

10101(a)(2) to “limit[] the prohibition on literacy tests to the initial

qualification process, thereby allow[s] literacy tests at the polls.” NAACP

Opp. 16 n.3. But that is precisely how Congress understood that section,

which is why Congress subsequently adopted a separate provision,

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section 201 of the 1965 Voting Rights Act, to ban the use of literacy tests

at all other steps in the election process, including at the polls. See 52

U.S.C. § 10501. There would have been no reason for Congress to enact

that separate provision if section 10101 sweeps as broadly as Plaintiffs

suggest. 4 And Plaintiffs have no explanation, on their construction of the

Materiality Provision, for why subsection (e)’s remedy for a violation of

“any right … secured by subsection (a)” is a declaration that the

individual is qualified to vote. 52 U.S.C. § 10101(e) (emphasis added).

     C.      The Materiality Provision Prohibits Only Denial of the Right
             to Vote.

     The Materiality Provision prohibits only the “den[ial]” of “the right

… to vote.”     Id. § 10101(a)(2)(B); see Mot. 20-21.        Plaintiffs heavily

emphasize the broad definition of the term “vote,” but they ignore the

well-established meaning of the statutory phrase at issue: “right … to

vote.”    E.g., Philadelphia Opp. 17-18.           Under a properly-limited

Materiality Provision, election officials do deny the “right . . . to vote”

when they improperly deny a voter’s registration application—but not


     4  Congress originally only barred literacy tests during voter
registration because southern states usually used literacy tests as part
of the voter-registration process. E.g., Lassiter v. Northampton Cnty. Bd.
of Elections, 360 U.S. 45, 46 (1959).
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when they apply evenhanded, mandatory rules regulating how

individuals cast ballots. E.g., Rosario v. Rockefeller, 410 U.S. 752, 757

(1973); DNC v. Wis. State Legislature, 141 S. Ct. 28, 35 (2020)

(Kavanaugh, J., concurral). (“[A] State’s election [rule] does not

disenfranchise voters who are capable of [following it] but fail to do so.”).

      D.      Plaintiffs’ Reading Would Invalidate Many Longstanding,
              Commonsense Election Laws.

      On Plaintiffs’ telling, in 1964, Congress disabled the states from

pursuing any interest in regulating elections through paper-based

requirements other than determining voter eligibility. E.g., NAACP Op.

12-13. Appellants have identified several longstanding state election

laws that are jeopardized if Plaintiffs’ interpretation is correct. Mot. 23-

24.   It is not hard to find more examples—like requirements that

witnesses sign mail ballots. E.g., Andino v. Middleton, 141 S. Ct. 9, 9-10

(2020).

      Plaintiffs artificially attempt to shield just two cited examples.

First, they claim overvoting prohibitions are safe because they prohibit

errors on the ballot instead of other voting documents. NAACP Opp. 19.

But if Plaintiffs are right that the Provision covers all “voting-related”

paperwork, NAACP Op. 1, the ballot itself is covered. Second, Plaintiffs

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tenuously suggest signature requirements “might be considered

material.” Id. at 19 (emphasis added). However, completing a signature

is not a voter eligibility criterion in Pennsylvania. ADD.62.

      Unable to disguise the radical implications of their position,

Plaintiffs ultimately show their hand. They eagerly praise the novel use

of the Materiality Provision to invalidate what they deride as “various

irrelevant paperwork requirements.” NAACP Opp. 20.

      To justify this shift of authority from the states to the federal courts,

Plaintiffs must point to “exceedingly clear [statutory] language.” Ala.

Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021). Yet Plaintiffs do

not even attempt this showing—providing the Court yet another basis to

reject their position.

       E. Constitutional Avoidance Forecloses Plaintiffs’ Reading.

      If Plaintiffs’ atextual interpretation of the Materiality Provision is

correct, the statute is likely unconstitutional. Because the Materiality

Provision governs both federal and state elections, Congress could only

enact it using its powers to enforce the 14th and 15th Amendments, a

point Plaintiffs acknowledge, NAACP Opp. 19-20 n.5. As Plaintiffs again

admit, the Supreme Court limited the scope of permissible enforcement


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legislation in City of Boerne. Id. (citing City of Boerne v. Flores, 521 U.S.

507, 518 (1997)). Whenever Congress enacts prophylactic legislation to

“remedy or prevent unconstitutional actions … [t]here must be a

congruence and proportionality between the injury to be prevented or

remedied and the means adopted to that end.” City of Boerne, 521 U.S.

at 519-20. And courts must consult Congress’s legislative “record” to

identify what unconstitutional practices Congress was legitimately

targeting. Id. at 530.

     The Congress that enacted the Materiality Provision was

responding to racially discriminatory practices in voter registration. Mot.

16-18. Plaintiffs have not contested that point—nor could they. There is

no evidence that Congress was concerned with states applying voting

rules outside voter registration that served goals unrelated to voter

qualifications—let alone a legislative record showing constitutional

violations occurring in such situations. If Plaintiffs are right that the

Materiality Provision reaches far beyond racially discriminatory voter-

registration practices, the Materiality Provision is likely unconstitutional.

E.g., City of Boerne, 521 U.S. at 530-36; Bd. of Trs. of Univ. of Ala. v.

Garrett, 531 U.S. 356, 365-374 (2001). Therefore, even if the Materiality


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Provision is ambiguous, constitutional avoidance demands reading it to

apply only to voter registration. E.g., Clark v. Martinez, 543 U.S. 371,

380-81 (2005).

                             CONCLUSION

     This Court should stay the District Court’s order pending appeal.




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Dated: December 13, 2023             Respectfully submitted,

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                   COMBINED CERTIFICATIONS

     1.    Pursuant to Third Circuit L.A.R. 28.3(d), at least one of the

attorneys whose names appear on this motion, including the

undersigned, is a member in good standing of the bar of this Court.

     2.    This brief complies with the word limit of Fed. R. App. P.

27(d)(2) because, excluding the parts of the document exempted by Fed.

R. App. P. 32(f), this document contains 2,598 words. This brief also

complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and

the type-style requirements of Fed. R. App. P. 32(a)(6) because this

document has been prepared in a proportionally spaced 14-point serif

font (Century Schoolbook Std), using Microsoft Word.

     3.    Pursuant to Third Circuit L.A.R. 31.1(c), Microsoft Safety

Scanner version 1.387.711.0 has been run on this electronic file and no

virus was detected.


Dated: December 13, 2023          /s/ John M. Gore
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                       CERTIFICATE OF SERVICE

     I hereby certify that on December 13, 2023, this brief was

electronically filed with the Clerk of Court using the appellate CM/ECF

system. Service on counsel for all parties in the district court has been

accomplished via notice filed through the district court’s CM/ECF system

attaching a copy of this filing.


Dated: December 13, 2023           /s/ John M. Gore
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